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                 EXHIBIT B
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School District Opioid Settlement Notice Program - Opt Out List
            Business_Name                  Address_1             City     State    Zipcode
  ADAMS TOWNSHIP SCHOOL DISTRICT           PO BOX 37         PAINESDALE    MI     499550037
        ADNA SCHOOL DISTRICT              PO BOX 118            ADNA       WA     985220118
   ALABASTER CITCY SCHOOL DISTRICT    10111 HIGHWAY 119      ALABASTER     AL     350079796
          MILLBURN CCSD 24           18550 W MILLBURN RD    WADSWORTH       IL    600839248
      MINERAL COUNTY SCHOOLS              36 BAKER PL          KEYSER      WV     267262826
           SANGER UNIFIED                 1905 7TH ST          SANGER      CA     936572897
       SCALES MOUND CUSD 211              210 MAIN ST      SCALES MOUND     IL    610759393
       TAYLOR COUNTY SCHOOLS             71 UTT DRIVE         GRAFTON      WV       26354
           TINA-AVALON R-II            11896 HIGHWAY 65         TINA       MO     646827124
       WOOD COUNTY SCHOOLS               1210 13TH ST       PARKERSBURG    WV     261014144
